                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                 WESTERN DIVISION
                                 No. 5:24-CV-154-BO


RONALD MCKOY,                    )
                                 )
                 Plaintiff,      )
                                 )
      V.                         )                                     ORDER
                                 )
CITY OF RALEIGH, RALEIGH POLICE )
DEPARTMENT, and TANNER C. GOSS , )
                                 )
                                 )
                 Defendants.     )



       This cause comes before the Court on motions to dismiss by defendants pursuant to Rules

12(b)(l), 12(b)(2), and 12(b)(6) of the Federal Rules of Civil Procedure. The appropriate responses

and replies have been filed, or the time for doing so has expired, and the motions are ripe for ruling.

Plaintiff has also filed motions for hearing and to extend time to make service, which are also ripe

for disposition.

                                          BACKGROUND

       Plaintiff, who proceeds pro se, instituted this action by filing a complaint against the City

of Raleigh and the Raleigh Police Department on March 7, 2024. [DE 1]. The City of Raleigh and

the Raleigh Police Department moved to dismiss the complaint. [DE 9]. Thereafter, plaintiff filed

an amended complaint. [DE 12]. Plaintiffs amended complaint identifies the City of Raleigh as

the defendant in the caption of the complaint, and further lists Karen McDonald, City Attorney;

Hunt K. Choi, Deputy City Attorney; and Officer Tanner C. Goss as defendants in the body of the

complaint. The Raleigh Police Department, City of Raleigh, and Tanner C. Goss in his official




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capacity moved to dismiss the amended complaint. [DE 15]. Plaintiff was notified of his right to

respond and filed a response. [DE 19]. Tanner Goss, in his individual capacity, moved to dismiss

the complaint [DE 25] and plaintiff, after being notified of his right to respond, filed a response.

[DE 31]. Plaintiff has filed two motions for hearing, [DE 28; DE 35], which defendant Goss has

opposed. [DE 32; DE 36]. Plaintiff also seeks an extension of time to effect service on Karen

McDonald. [DE 33].

        The factual allegations in plaintiffs amended complaint are as follows. On May 16, 2023 ,

plaintiff was driving a U-Haul rental truck on Capital Boulevard in Raleigh, North Carolina.

Tanner Goss, an officer with the Raleigh Police Department, stopped plaintiff for driving with an

unsecured load. Plaintiff provided his driver's license and the rental paperwork to Goss. Goss

returned to his police vehicle and "began to profile [plaintiffs] driving and criminal record. " Amd.

Comp!. at 3. After about twenty-five minutes, another Raleigh Police vehicle arrived at the scene.

Goss conversed with another Raleigh Police Officer for about fifteen minutes and then returned to

plaintiffs vehicle. Goss informed plaintiff that there was a warrant for his arrest arising from a

traffic citation in Lenoir County in 1988.

       Plaintiff was arrested and alleges that during the arrest his arms were pinned back and his

shoulders were aggressively hyperextended. Plaintiff was never informed of his Miranda rights.

On the date of his arrest, plaintiff was sixty-four years old. Plaintiff informed Goss and the other

officer that he was a disabled United States Marine Corps veteran with no criminal record and the

officers laughed. All criminal charges against plaintiff were subsequently dismissed by the Wake

County District Attorney ' s Office.

       Plaintiff alleges that his Fourth and Fourteenth Amendment rights were violated and cites

to 42 U.S.C. § 1983 . He further appears to allege state law claims for illegal search and seizure,



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wrongful arrest, racial profiling, and defamation of character. Plaintiff seeks $750,000 m

compensatory damages and $1,500,000 in punitive damages.

                                           DISCUSSION

       Federal Rule of Civil Procedure 12(b)(l) authorizes dismissal of a claim for lack of subject

matter jurisdiction. When subject matter jurisdiction is challenged, the plaintiff has the burden of

proving jurisdiction to survive the motion. Evans v. B.F. Perkins Co. , 166 F.3d 642, 647-50 (4th

Cir. 1999). "In determining whether jurisdiction exists, the district court is to regard the pleadings'

allegations as mere evidence on the issue, and may consider evidence outside the pleadings without

converting the proceeding to one for summary judgment." Richmond, Fredericksburg & Potomac

R.R. Co. v. United States, 945 F.2d 765, 768 (4th Cir. 1991). To this end, "the nonmoving party

must set forth specific facts beyond the pleadings to show that a genuine issue of material fact

exists." Id. (citing Trentacosta v. Frontier Pac. Aircraft Indus., 813 F.2d 1553 , 1558-59 (9th Cir.

1987)). The movant's motion to dismiss should be granted if the material jurisdictional facts are

not in dispute and the movant is entitled to prevail as a matter of law. Id.

       Rule 12(b)(2) of the Federal Rules of Civil Procedure authorizes dismissal for lack of

personal jurisdiction. When personal jurisdiction has been challenged on the papers alone, the

plaintiff must make a prima facie case showing that personal jurisdiction exists, and a court

construes all facts and inferences in favor of finding jurisdiction. Combs v. Bakker, 886 F.2d 673,

676 (4th Cir. 1989).

       A Rule 12(b)( 6) motion tests the legal sufficiency of the complaint. Papas an v. Allain , 4 78

U.S. 265, 283 (1986). When acting on a motion to dismiss under Rule 12(b)(6), "the court should

accept as true all well-pleaded allegations and should view the complaint in a light most favorable

to the plaintiff." Mylan Labs., Inc. v. Matkari, 7 F.3d 1130, 1134 (4th Cir. 1993). A complaint



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must allege enough facts to state a claim for relief that is facially plausible. Bell Atlantic Corp. v.

Twombly, 550 U.S. 544, 570 (2007). Facial plausibility means that the facts pled "allow[] the court

to draw the reasonable inference that the defendant is liable for the misconduct alleged," and mere

recitals of the elements of a cause of action supported by conclusory statements do not suffice.

Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). A complaint must be dismissed if the factual

allegations do not nudge the plaintiffs claims "across the line from conceivable to plausible."

Twombly, 550 U.S. at 570. " [A] prose complaint, however inartfully pleaded, must be held to less

stringent standards than formal pleadings drafted by lawyers." Estelle v. Gamble , 429 U.S . 97,

106 (1976) (internal quotation and citation omitted). However, a court does not "act as an advocate

for a prose litigant," Gordon v. Leeke, 574 F.2d 1147, 1152 (4th Cir. 1978), nor is it required to

'"discern the unexpressed intent of the plaintiff[.]' " Williams v. Ozmint, 716 F.3d 801 , 805 (4th

Cir. 2013) (quoting Laber v. Harvey, 438 F.3d 404, 413 n. 3 (4 th Cir. 2006) (en bane)).

        At the outset, because plaintiff has filed an amended complaint, the motion to dismiss the

original complaint is denied as moot. Fawzy v. Wauquiez Boats SNC, 873 F.3d 451 , 455 (4th Cir.

2017). Additionally, plaintiff has filed two motions seeking a hearing. A hearing would not aid the

Court in reaching its decision, and the motions for hearing are denied. See Local Civil Rule 7 .1 (j).

        The Raleigh Police Department is not a named defendant in the caption of the amended

complaint. [DE 12]. However, each of plaintiffs oppositions to the motions to dismiss list the

following defendants in the caption: City of Raleigh, Officer Tanner Goss, and Raleigh Police

Department. To the extent that it remains a party to this action, the Raleigh Police Department is

not an entity capable of being sued, and it is appropriately dismissed. Smith v. Munday, 848 F.3d

248, 256 (4th Cir. 2017) ("Under North Carolina law, police departments cannot be sued as

entities.").



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        The Court notes that the precise nature of the claims alleged and against whom the claims

are alleged is not easily discemable from the complaint. For example, plaintiff cites to § 1983 in

the beginning of his complaint, but fails to clarify in any other section of the pleading that he brings

claims under federal as well as state law. The Court, as it must, construes plaintiffs allegations

liberally and thus addresses, where appropriate, claims raised under both state and federal law.

        The § 1983 claims against the City of Raleigh are dismissed. Under 42 U.S.C. § 1983, a

municipality may be liable for its policies and customs which result in the deprivation of civil

rights under Monell v. New York City Department of Social Services, 436 U.S. 658 (1978). But

plaintiff has failed to allege any policy or custom for which the City of Raleigh could be held

liable. See Lytle v. Doyle, 326 F.3d 463, 471 (4th Cir. 2003). Additionally, municipal liability

under Monell is not available under the theory of respondeat superior, so to hold the City liable its

employees must have taken "constitutionally offensive acts in furtherance of municipal policy or

custom." Burgess v. Goldstein, 997 F .3d 541, 562 (4th Cir. 2021) (citing Milligan v. City of

Newport News , 743 F.2d 227, 229 (4th Cir. 1984)). As plaintiff has not alleged the existence of

any policy or custom which resulted in the deprivation of his civil rights, the § 1983 claims against

the City of Raleigh are dismissed.

       The state law claims against the City are barred by governmental immunity. Governmental

immunity provides a complete defense that "shields a defendant entirely from having to answer

for its conduct at all in a civil suit for damages." Craig ex rel. Craig, 678 S.E.2d 351, 354 (N.C.

2009). This immunity exists when the government is performing governmental functions, such as

providing police services. Arrington v. Martinez, 716 S.E.2d 410, 414 (N.C App. 2011). North

Carolina state courts have not resolved whether governmental immunity provides a bar to suit on

subject matter jurisdiction or personal jurisdiction grounds. Yarbrough v. East Wake First Charter



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Sch., 108 F. Supp. 3d 331 , 336 (E.D.N.C. 20 15). To demonstrate appropriate jurisdiction, the

plaintiff must plead waiver of governmental immunity and show the basis for such waiver. M

Series Rebuild, LLC v. Town ofMount Pleasant, Inc., 730 S.E.2d 254, 257 (N.C. App. 2012).

        The amended complaint does not plead a waiver of governmental immunity. Nor has

plaintiff demonstrated that governmental immunity would not apply to any of his state law claims.

See, e.g. , Anderson v. Caldwell Cnty. Sheriff's Off, 524 F. App'x 854, 863 (4th Cir. 2013) (claim

for false arrest barred by governmental immunity); Kline v. Cleveland Cnty. , No. 1: 19-CV-197-

MOC-WCM, 2020 WL 7264463 , at *3 (W.D.N.C. Dec. 10, 2020) (defamation claim barred by

governmental immunity). Any state law claims alleged against the City of Raleigh are dismissed.

       To the extent that plaintiff has alleged claims against Officer Goss in his official capacity,

those claims are also dismissed. Where a defendant has been named in his official capacity for

claims under§ 1983, those claims are "treated as a suit against the entity." King v. Rubenstein, 825

F .3d 206, 223 (4th Cir. 2016). The same is true for plaintiffs state common law claims.

"Governmental immunity protects not only the county, but also its officers and employees when

they are sued in their official capacities." Childs v. Johnson , 155 N.C. App. 381 , 386 (2002).

Accordingly, any claims against Officer Goss in his official capacity are duplicative of the claims

against the City and are dismissed.

       The motion to dismiss the amended complaint by the City of Raleigh, Raleigh Police

Department, and Officer Goss in his official capacity is granted. Officer Goss also moves to

dismiss the claims against him in his individual capacity for fai lure to state a claim upon which

relief can be granted.

       Plaintiff alleges a claim for wrongful arrest. Plaintiff has alleged that Officer Goss arrested

him pursuant to an arrest warrant, but also specifically alleges that there was not an active warrant



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at the time of his arrest. Amd. Compl. at 3. The existence of a valid arrest warrant would defeat

any state law wrongful arrest claim, see Myrick v. Cooley, 91 N.C. App. 209, 212 (1988) ("A false

arrest, i.e. , one without proper legal authority, is one means of committing a false imprisonment."),

as well as a § 1983 wrongful arrest claim. Porterfield v. Lott, l 56 F .3d 563, 568 (4th Cir. 1998)

("a public official cannot be charged with false arrest when he arrests a [person] pursuant to a

facially valid warrant."); see also McPhearson v. Anderson, 874 F. Supp. 2d 573 , 580 (E.D. Va.

2012). But taking plaintiffs allegation as true, there was not an active warrant for plaintiffs arrest

at the time Officer Goss arrested him. The motion to dismiss the wrongful arrest claim is denied.

       Plaintiff also appears to allege a claim for excessive force. Plaintiff describes his shoulders

being aggressively hyperextended while he was arrested. Mindful that the Court must construe

plaintiffs claims liberally, the Court finds that plaintiff has plausibly alleged a Fourth Amendment

excessive force claim. See, e.g. , Smith v. Ray, 781 F.3d 95 , 101 (4th Cir. 2015). Officer Goss did

not move to dismiss a claim for excessive force. However, plaintiffs allegations in support of this

claim are minimal. Accordingly, the Court will permit plaintiff an opportunity to amend his

amended complaint to provide additional factual support for this claim.

       Plaintiffs illegal search and seizure claim fails to state a claim. The Fourth Amendment

prohibits unreasonable searches and seizures. U.S. Const. Amend. IV; see also State v. Carter,

322 N.C. 709, 712 (1988). Plaintiff alleges that Officer Goss stopped plaintiffs vehicle for having

an unsecured load, which is a violation of North Carolina law that Officer Goss was authorized to

enforce. See N.C. Gen. Stat. §§ 20-116(g)(l); 20-183(a). Plaintiff does not allege that his U-Haul

did not have an unsecured load. Plaintiffs allegations fail to plausibly allege that Officer Goss '

traffic stop was unreasonable.




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       Plaintiff further alleges that Officer Goss seized plaintiffs driver' s license and took it back

to the patrol vehicle when Officer Goss could not find anything for which to arrest plaintiff.

Plaintiff has not plausibly alleged that taking a driver' s license from the driver of a stopped vehicle

back to a patrol car amounts to an illegal seizure under either the Fourth Amendment or North

Carolina law. See Atkinson v. Godfrey, l 00 F.4th 498, 505 n.6 (4th Cir. 2024) (seizure of property

means "some meaningful interference with an individual ' s possessory interests in that property.");

see also United States v. Branch, 537 F.3d 328, 335 (4th Cir. 2008) (pursuant to traffic stop police

can request driver' s license and run computer check).

       Plaintiff appears to allege a claim for "racial profiling." There is no federal claim for "racial

profiling," though the Fourth Circuit has recognized such claims as alleging a violation of the

Fourteenth Amendment's Equal Protection Clause. Hodge v. Gans/er, 547 F. App'x 209, 210 n.1

(4th Cir. 2013). The Equal Protection Clause "requires that similarly-situated individuals be treated

alike." Giarratano v. Johnson , 521 F.3d 298, 302 (4th Cir. 2008). Plaintiff has not alleged that he

was treated differently from any similarly-situated person, nor has he argued that North Carolina

law would provide him any relief for such a claim. This claim is conclusory and appropriately

dismissed.

       Finally, plaintiff has failed to plausibly allege a defamation claim against Officer Goss.

Under North Carolina law, a plaintiff alleging defamation must generally show " 'that the

defendant caused injury to the plaintiff by making false, defamatory statements of or concerning

the plaintiff, which were published to a third person."' Desmond v. News & Observer Pub! 'g Co.,

375 N.C. 21 , 41 (2020) (citation omitted). Plaintiff alleges that "False statements that Defendant

said and written that caused mental and emotional stress, distress and harm to Plaintiff1' s]

reputation." Amd. Compl. at 2. Plaintiffs allegations in support of his defamation claim are



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conclusory. Moreover, any statements by Goss that were allegedly defamatory would be protected

by a qualified privilege. "(C]ertainly a police officer has an interest in undertaking an investigation

into allegations of criminal conduct and in engaging in good faith communications with" others

involved in the prosecution of an alleged crime. Averitt v. Rozier, 119 N.C. App. 216, 219 (1995)

(discussing elements of qualified privilege). Plaintiff has not alleged that Officer Goss was acting

in bad faith or with actual malice when investigating and arresting plaintiff. Id. Plaintiff has failed

to state a defamation claim. The motion to dismiss the claims against Officer Goss in his individual

capacity is therefore granted in part and denied in part.

       Plaintiff seeks an extension of time "to serve for proof of service" of Karen McDonald, the

City Attorney for the City of Raleigh. [DE 33]. Fed. R. Civ. P. lO(a) requires that the title of the

complaint contain the names of all parties. Plaintiffs amended complaint caption names only the

City of Raleigh as a defendant. The body of the amended complaint lists Karen McDonald, Hunt

Choi, and Tanner Goss as defendants. [DE 12]. As noted above, plaintiffs oppositions to the

motions to dismiss include the City of Raleigh, Officer Goss, and the Raleigh Police Department

in the captions. [DE 19; DE 31; DE 34]. A fair reading of the amended complaint supports that

Officer Goss is a named defendant in addition to the City of Raleigh. However, no claims have

been alleged against Karen McDonald or Hunt Choi, Deputy City Attorney.

       It is unclear whether plaintiff has served or is attempting to serve McDonald or Choi in an

effort to effectively serve the City of Raleigh or the Raleigh Police Department or whether he

intends to name McDonald and Choi as defendants. The City of Raleigh and the Raleigh Police

Department have appeared in this action through counsel. As no allegations in the amended

complaint identify McDonald or Choi, any attempt to effect service on them at this stage is

unnecessary. To the extent plaintiff has named McDonald and Choi as defendants, any claims



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against them are dismissed. See, e.g. , Stroupe v. Whisnant, No. 1:22-cv-00088-MR, 2022 U.S.

Dist. LEXIS 160930, at *5-6 (W.D.N.C. Sep. 6, 2022). The motion for extension of time to make

service is denied.

                                        CONCLUSION

       Accordingly, for the foregoing reasons, the first motion to dismiss by the City of Raleigh

and Raleigh Police Department [DE 9] is DENIED AS MOOT; the motion to dismiss the claims

in the amended complaint by the City of Raleigh, Raleigh Police Department, and Goss in his

official capacity [DE 15] is GRANTED. The motion to dismiss by Goss in his individual capacity

[DE 25] is GRANTED IN PART and DENIED IN PART. Plaintiff has through and including

April 4, 2025, to file an amended complaint in accordance with the foregoing.

       Plaintiffs motions for hearing [DE 28 ; DE 35] are DENIED, and plaintiffs motion for

extension of time to make service [DE 33] is DENIED.




SO ORDERED, this     Ji day of March 2025 .


                                            T~&~
                                            UNITED STATES DISTRICT JUDGE




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